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 8                           UNITED STATES DISTRICT COURT
 9                       SOUTHERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                )         Case No. 06CR0590-H
                                              )
12                           Plaintiff,       )
                                              )         ORDER DENYING DEFENDANT’S
                        v.                    )         MOTION FOR COMPASSIONATE
13                                            )
                                              )         RELEASE UNDER TITLE 18 U.S.C.
14   BENEDICTA ARREOLA (3),                   )
                                              )         § 3582(c)(1)(A)(i)
15                           Defendant.       )
                                              )         (Doc. No. 1214.)
16                                            )
17
18         Pending before the Court is Defendant Benedicta Arreola’s (“Defendant”)
19   motion for compassionate release under Title 18 U.S.C. § 3582(c)(1)(A)(i). (Doc. No.
20   1214.) The Court appointed Federal Defenders of San Diego, Inc. under General Order
21   692-B (S.D. Cal. Mar. 4, 2021) to represent the Defendant in this matter. (Doc. No.
22   1212.) The Defendant seeks an order from the Court to reduce her imprisonment term
23   to time served or alternatively seeks an order from the Court to grant a modest reduction
24   of her sentence. (Id.) The Government has filed a response in opposition to the
25   Defendant’s motion (Doc. No. 1220) and the Defendant has filed her reply to the
26   Government’s opposition (Doc. No. 1221). For the reasons set forth below, the Court
27   denies the Defendant’s motion for compassionate release and denies her alternative
28   request for a partial reduction of her sentence under § 3582(c)(1)(A)(i).
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 1                                         Background
 2           On February 26, 2008, the Defendant, with her consent, tendered a guilty plea
 3   before the Magistrate Judge for conspiracy to distribute methamphetamine in violation
 4   of Title 21 U.S.C. §§ 841(a)(1) and 846 as charged in Count One of the Superseding
 5   Indictment, and for carrying a firearm during and in relation to, and possession of a
 6   firearm in furtherance of a drug trafficking crime in violation of Title 18 U.S.C. §
 7   924(c)(1) as charged in Count Two of the Superseding Indictment. (Doc. Nos. 351 and
 8   355.) The Defendant executed a written plea agreement, and the Magistrate Judge
 9   issued his Findings and Recommendation recommending that this Court accept the
10   Defendant’s guilty plea (Doc. Nos. 356 and 357). On October 6, 2008, this Court
11   accepted the Defendant’s guilty plea. (Doc. No. 490.) On January 29, 2009, the Court
12   sentenced the Defendant to a custodial term of 210 months on Count One and 60 months
13   on Count Two to run consecutive for a total custodial term of 270 months, followed by
14   a five-year concurrent term of supervised release on each count. (Doc. Nos. 559 and
15   560.)
16                                          Discussion
17           A district court is generally prohibited from modifying a sentence once it has
18   been imposed, unless expressly permitted by law. United States v. Penna, 319 F.3d 509,
19   511 (9th Cir. 2003); United States v. Handa, 122 F.3d 690, 691 (9th Cir. 1997), as
20   amended on reh'g (Aug. 4, 1997), cert. denied, 522 U.S. 1083, 118 S.Ct. 869, 139
21   L.Ed.2d 766 (1998) (“A district court does not have inherent power to resentence
22   defendants at any time. Its authority to do so must flow either from the court of appeals
23   mandate under 28 U.S.C. § 2106 (1982) or from Federal Rule of Criminal Procedure
24   35.”) (citations omitted); United States v. Barragan-Mendoza, 174 F.3d 1024, 1028 (9th
25   Cir. 1999) (“[D]istrict courts do not have ‘inherent authority’ to reconsider sentencing
26   orders.”) (citations omitted).
27           One exception to the district court’s prohibition from modifying a sentence is the
28   compassionate release provision of Title 18 U.S.C. § 3582(c)(1)(A). That provision
                                                 -2-
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 1   provides:
 2
            (c) Modification of an imposed term of imprisonment.--The court may not
 3
            modify a term of imprisonment once it has been imposed except that--
 4              (1) in any case--
                   (A) the court, upon motion of the Director of the Bureau of Prisons,
 5
                   or upon motion of the defendant after the defendant has fully
 6                 exhausted all administrative rights to appeal a failure of the Bureau
                   of Prisons to bring a motion on the defendant's behalf or the lapse of
 7
                   30 days from the receipt of such a request by the warden of the
 8                 defendant's facility, whichever is earlier, may reduce the term of
                   imprisonment (and may impose a term of probation or supervised
 9
                   release with or without conditions that does not exceed the unserved
10                 portion of the original term of imprisonment), after considering the
                   factors set forth in section 3553(a) to the extent that they are
11
                   applicable, if it finds that--
12                     (i) extraordinary and compelling reasons warrant such a
                       reduction; or
13
                       (ii) the defendant is at least 70 years of age, has served at least
14                     30 years in prison, pursuant to a sentence imposed under section
                       3559(c), for the offense or offenses for which the defendant is
15
                       currently imprisoned, and a determination has been made by the
16                     Director of the Bureau of Prisons that the defendant is not a
                       danger to the safety of any other person or the community, as
17
                       provided under section 3142(g);
18                         and that such a reduction is consistent with applicable policy
                           statements issued by the Sentencing Commission. 1
19
20
            For a court to have jurisdiction to hear a defendant’s motion for compassionate
21
     release, a defendant must first meet the administrative exhaustion criteria set forth in §
22
23          1
               A prior version of § 3582(c)(1)(A) permitted a court to reduce a defendant’s term of
24   imprisonment only upon the motion of the Director of the Bureau of Prisons (“BOP.”) The First Step
     Act of 2018, Pub. L. No. 115-391, § 603, modified § 3582(c)(1)(A) to allow a defendant to make a
25   motion to the Court “after the defendant has fully exhausted all administrative rights to appeal a failure
     of the Bureau of Prisons to bring a motion on the defendant’s behalf or the lapse of 30 days from the
26   receipt of such a request by the warden of the defendant’s facility, whichever is earlier.” See
     Mohrbacher v. Ponce, No. CV 18-00513-DMG (GJS), 2019 WL 161727 (C.D. Cal. Jan. 10, 2019)
27
     (Gee, J.) (Discussing modifications made to § 3582(c)(1)(A) by the First Step Act); See also United
28   States v. Curry, No. CR 6:06-082-DCR, 2019 WL 508067 (E.D. Ky. Feb. 8, 2019) (Reeves, J.) (same.)

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 1   3582(c)(1)(A). United States v. Keller, 2 F.4th 1278, 1282 (9th Cir. 2021) (“Joining the
 2   unanimous consensus of our sister circuits, we hold that § 3582(c)(1)(A)’s
 3   administrative exhaustion requirement imposes a mandatory claim-processing rule that
 4   must be enforced when properly invoked.”). As the movant, the burden rests with the
 5   Defendant to provide proof that she has met the exhaustion criteria set for the in §
 6   3582(c)(1)(A) and to establish that “extraordinary and compelling reasons exists” to
 7   warrant her release. See United States v. Holden, 452 F. Supp. 3d 964, 969 (D. Or.
 8   2020) (Brown, J.) (“A defendant seeking a reduction in his terms of imprisonment bears
 9   the burden to establish both that he has satisfied the procedural prerequisites for judicial
10   review and that compelling and extraordinary reasons exist to justify compassionate
11   release.”); See also United States v. Osorio-Arellanes, No. CR-11-00150-001-TUC-
12   DCB (BGM), 2021 WL 673292, at *2 (D. Ariz. Feb. 22, 2021) (Bury, J.) (“Defendant
13   bears the burden of proving he meets all elements of eligibility for a sentence
14   reduction.”).
15         In this matter, the Defendant filed a copy of her request to the Warden seeking
16   compassionate release dated July 28, 2020. (Doc. No. 1214, Ex. A at 2.) Accordingly,
17   given that a period of 30 days has elapsed from the date of the request, the Court is
18   satisfied that it has jurisdiction to consider the Defendant’s motion for compassionate
19   release under § 3582(c)(1)(A). See United States v. Walters, No. 2:12-CR-00375-TLN-
20   AC, 2021 WL 3565327, at *1 (E.D. Cal. Aug. 12, 2021) (Nunley, J.) (“Because more
21   than 30 days have elapsed since Defendant’s request, Defendant has met the exhaustion
22   requirement [under § 3582(c)(1)(A)].”).
23         Under § 3582(c)(1)(A)(i), a court may reduce a defendant’s term of imprisonment
24   if it finds that “extraordinary and compelling reasons warrant such a reduction.” In
25   determining what constitutes “extraordinary and compelling reasons,” the Ninth Circuit
26   has held that under the current version of U.S.S.G. § 1B1.13 2 “[t]he Sentencing
27
28         2
               U.S.S.G. § 1B1.13 cmt. n.1(A) and (B) (Nov. 1, 2018) provides:
                                                     -4-
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 1   Commission’s statements in U.S.S.G. § 1B1.13 may inform a district court’s discretion
 2   for § 3582(c)(1)(A) motions filed by a defendant, but they are not binding.” United
 3   States v. Aruda, 993 F.3d 797, 802 (9th Cir. 2021). 3 Therefore, in the absence of binding
 4   applicable policy statements, “district courts are ‘empowered ... to consider any
 5
                    1. Extraordinary and Compelling Reasons.--Provided the defendant
 6                  meets the requirements of subdivision (2), extraordinary and compelling
                    reasons exist under any of the circumstances set forth below:
 7
                           (A) Medical Condition of the Defendant.--
 8                              (i) The defendant is suffering from a terminal illness (i.e., a
                                serious and advanced illness with an end of life trajectory).
 9                              A specific prognosis of life expectancy (i.e., a probability of
                                death within a specific time period) is not required.
10                              Examples include metastatic solid-tumor cancer,
                                amyotrophic lateral sclerosis (ALS), end-stage organ
11
                                disease, and advanced dementia.
12                              (ii) The defendant is--
                                     (I) suffering from a serious physical or medical
13                                   condition,
                                     (II) suffering from a serious functional or cognitive
14                                   impairment, or
                                     (III) experiencing deteriorating physical or mental health
15
                                     because of the aging process, that substantially
16                                   diminishes the ability of the defendant to provide self-
                                     care within the environment of a correctional facility and
17                                   from which he or she is not expected to recover.
                           (B) Age of the Defendant.--The defendant (i) is at least 65 years
18                         old; (ii) is experiencing a serious deterioration in physical or
                           mental health because of the aging process; and (iii) has served
19
                           at least 10 years or 75 percent of his or her term of imprisonment,
20                         whichever is less.
                           (C) Family Circumstances.--
21                              (i) The death or incapacitation of the caregiver of the
                                defendant’s minor child or minor children.
22                              (ii) The incapacitation of the defendant’s spouse or
                                registered partner when the defendant would be the only
23
                                available caregiver for the spouse or registered partner.
24                         (D) Other Reasons.--As determined by the Director of the
                           Bureau of Prisons, there exists in the defendant’s case an
25                         extraordinary and compelling reason other than, or in
                           combination with, the reasons described in subdivisions (A)
26                         through (C).
27          3
              Prior to Aruda, district courts were split on the issue of whether or not the policy statements
28   contained in the current version of U.S.S.G. § 1B1.13 were binding when considering motions filed
     by a defendant under § 3582(c)(1)(A). The Ninth Circuit has now resolved that split within our circuit.
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 1   extraordinary and compelling reason for release that a defendant might raise.’” United
 2   States v. McCoy, 981 F.3d 271, 284 (4th Cir. 2020) (citing United States v. Zullo, 976
 3   F.3d 228, 230 (2d Cir. 2020)). Nevertheless, “[i]n exercising its discretion, this Court
 4   looks to the [non-binding] policy statement[s] for helpful guidance.” United States v.
 5   Miller, No. 15-CR-00471-CRB-1, 2021 WL 2711728, at *2 (N.D. Cal. July 1, 2021)
 6   (Breyer, J.).
 7         As an initial matter, the Court notes that although the impact of the current
 8   pandemic on the detention facilities is of course concerning to the Court, “the mere
 9   existence of COVID-19 in society and the possibility that it may spread to a particular
10   prison alone cannot independently justify compassionate release, especially considering
11   BOP’s statutory role, and its extensive and professional efforts to curtail the virus’s
12   spread.” United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020). Moreover, in light of
13   the recent availability and efficacy of COVID-19 vaccines, the Court is less incline to
14   grant compassionate release based on circumstances related to the pandemic. See
15   United States v. Tsingine, No. CR-09-08132-001-PCT-GMS, 2021 WL 3419056, at *2
16   (D. Ariz. Aug. 5, 2021) (Snow, C.J.) (“In light of the efficacy of COVID-19 vaccines,
17   courts consistently refuse to find that COVID-19 presents an extraordinary or
18   compelling reason for relief.”). Nevertheless, the existence of the pandemic is one
19   among numerous factors the Court may consider in determining what constitutes
20   “extraordinary and compelling reasons.”
21         The Defendant argues that a combination of the following factors, which include
22   certain Title 18 U.S.C. § 3553(a) factors, rise to the level of “extraordinary and
23   compelling reasons” to justify compassionate release: the conditions of the Defendant’s
24   confinement during the pandemic; the Defendant’s personal history including being a
25   victim of rape and being a caretaker for her sister who ultimately passed away from
26   cancer; the Defendant’s rehabilitation and her community service to the BOP and her
27   co-inmates, including providing services to the BOP and mentoring co-inmates during
28   the pandemic despite the associated health risks of being obese during the height of the
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 1   pandemic; the Defendant’s success in obtaining her GED while in custody (prior to
 2   obtaining her GED, the Defendant only had a sixth grade education and English is her
 3   second language); the letters of support from BOP staff and co-inmates; the length of
 4   the Defendant’s sentence and the statistics comparing her sentence with other sentences
 5   imposed for serious crimes; the Defendant’s remorse and acceptance of responsibility;
 6   the Defendant’s family support; and the Defendant’s desire to be with her children and
 7   her grandchildren. Under Aruda, the Court is permitted to consider any and all factors
 8   raised by the Defendant is support of her request for compassionate release.
 9          The Court next considers the underlying criminal conduct and the rest of the §
10   3553(a) factors 4 in determining whether compassionate release is warranted in this case.
11   The Defendant was heavily involved in a large-scale drug trafficking organization led
12   by her co-defendant brother. The organization distributed huge amounts of
13   methamphetamine and used firearms in connection with the drug trafficking ventures.
14   The Defendant was not a minor participant in this organization as she “helped with
15   transporting, receiving, paying for, preparing, storing, and distributing drugs” and
16   “store[d] a gun at her home, which she handed over to a co[-]conspirator for
17   enforcement purposes.” (Doc. No. 1214 at 7.) One of the most egregious aspects of the
18   Defendant’s criminal conduct is her use of her minor child to conduct drug transactions.
19   (Id.) Additionally, as Justice Anthony Kennedy noted, “[p]ossession, use, and
20   distribution of illegal drugs represent ‘one of the greatest problems affecting the health
21   and welfare of our population.’” Harmelin v. Michigan, 501 U.S. 957, 1002, 111 S. Ct.
22
23          4
               The 18 U.S.C. § 3553(a) factors include: (1) the nature and circumstances of the offense and
24   the history and characteristics of the defendant; (2) the need for the sentence imposed to reflect the
     seriousness of the offense, to promote respect for the law, and to provide just punishment for the
25   offense; to afford adequate deterrence to criminal conduct; to protect the public from further crimes
     of the defendant; and to provide the defendant with needed educational or vocational training, medical
26   care, or other correctional treatment in the most effective manner; (3) the kinds of sentences available;
     (4) the kinds of sentence and the sentencing range established in the Sentencing Guidelines; (5) any
27
     pertinent policy statement issued by the Sentencing Commission; (6) the need to avoid unwarranted
28   sentence disparities among defendants with similar records who have been found guilty of similar
     conduct; and (7) the need to provide restitution to any victims.
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 1   2680, 2705, 115 L. Ed. 2d 836 (1991) (Kennedy, J., concurring) (quoting Treasury
 2   Employees v. Von Raab, 489 U.S. 656, 668, 109 S.Ct. 1384, 1392, 103 L.Ed.2d 685
 3   (1989)).
 4         Accordingly, in light of the seriousness of the underlying offense, the
 5   Defendant’s involvement in the offense including her decision to use her minor child to
 6   conduct drug transactions, and the need to promote respect for the law, to provide just
 7   punishment, and to afford adequate deterrence to criminal conduct, the Court sentenced
 8   the Defendant to a custodial term of 210 months on Count One and a consecutive
 9   custodial term of 60 months on Count Two, for a total custodial term of 270 months.
10   Furthermore, in deciding the Defendant’s sentence on Count One, “the Court
11   consider[ed] the advisory guidelines and the fact that Count 2 is consecutive.” (Doc.
12   No. 625 at 23); See also Dean v. United States, 137 S. Ct. 1170, 1176–77, 197 L. Ed.
13   2d 490 (2017) (“Nothing in § 924(c) restricts the authority conferred on sentencing
14   courts by § 3553(a) and the related provisions to consider a sentence imposed under §
15   924(c) when calculating a just sentence for the predicate count.”). Balancing these
16   factors along with the factors raised by the Defendant, the Court concludes that the
17   aggravating facts of the underlying criminal conduct outweigh the factors in favor of
18   compassionate release. See e.g. United States v. Mendoza, No. CR13-0238-JCC, 2021
19   WL 2856673, at *3 (W.D. Wash. July 8, 2021) (Coughenour, J.) (“On balance, the
20   Court finds the § 3553(a) factors weigh against reducing [defendant’s] sentence.”);
21   United States v. Fields, No. CR-18-00136-003-PHX-SMB, 2021 WL 2780873, at *4
22   (D. Ariz. July 2, 2021) (Brnovich, J.) (“[T]he Court finds that the 18 U.S.C. § 3553(a)
23   factors also weigh against compassionate release.”); United States v. Gibson, No. CR
24   16-00746 JMS (06), 2021 WL 328913, at *5 (D. Haw. Feb. 1, 2021) (Seabright, C.J.)
25   (“[A] consideration of the § 3553(a) factors weighs heavily against granting
26   [compassionate release].”); United States v. Lewis, No. CR-18-00927-PHX-DGC-1,
27   2021 WL 847991, at *4 (D. Ariz. Mar. 5, 2021) (Campbell, J.) (“The Court finds that
28   the § 3553(a) factors outweigh the extraordinary and compelling reasons allowing for
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 1   compassionate release.”).
 2         The Court in particular concludes that the Defendant’s use of her minor child in
 3   furtherance of her drug trafficking ventures is aggravating and weighs heavily against
 4   compassionate release. See United States v. Caitano, No. CR 18-00167 HG-02, 2020
 5   WL 5807331, at *7 (D. Haw. Sept. 29, 2020) (Gillmor, J.), reconsideration denied, No.
 6   CR 18-00167 HG-02, 2021 WL 233114 (D. Haw. Jan. 22, 2021), and aff'd, No. 21-
 7   10041, 2021 WL 4269975 (9th Cir. Sept. 20, 2021), and aff'd, No. 21-10041, 2021 WL
 8   4269975 (9th Cir. Sept. 20, 2021) (unpublished) (Denying compassionate release for a
 9   defendant who “used a child under 18 years old… to assist her in committing the drug
10   crimes.”); See also United States v. Kennon, No. 5:18-CR-437-D, 2021 WL 1933937,
11   at *3 (E.D.N.C. May 13, 2021) (Dever, J.) (Denying a compassionate release for a
12   defendant who “[i]n the presence of her minor child, Kennon used and maintained her
13   home for the purposes of distributing methamphetamine.”). Moreover, granting a
14   reduction of her sentence would undermine the purpose and negate the effects of the
15   upward adjustment under U.S.S.G. § 3B1.4 for using her minor son to conduct drug
16   transactions. See United States v. Gonzalez, 262 F.3d 867, 871 (9th Cir. 2001) (“[U]se
17   of a minor is harmful whether or not the defendant's role in the offense is that of a leader
18   or organizer.”) (citing U.S.S.G. § 3B1.4).
19         The Court notes that at the time of sentencing the Defendant requested a nine-
20   level downward departure and the Court declined the Defendant’s request on the basis
21   that it was unwarranted under the circumstances of this case. (Doc. No. 625 at 22.)
22   Instead, the Court granted a two-level downward departure for a combination of factors,
23   concluding that a downward departure of two levels was adequate to capture the
24   Defendant’s equities. (Id.) The Court holds the same belief today and concludes that
25   granting early release now or a reduction of the Defendant’s sentence would stray from
26   the § 3553(a) factors and would not reflect the seriousness of the underlying offense.
27   See United States v. Bongiorni, No. CR16-109RSL, 2021 WL 2413348, at *5 (W.D.
28   Wash. June 14, 2021) (Lasnik, J.) (“The need for the sentence to reflect the seriousness
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 1   of the offense, promote respect for the law, provide just punishment, and afford
 2   adequate deterrence disfavor granting compassionate release here.”); See also United
 3   States v. Jefferson, No. 2:17-CR-00130-MCE, 2021 WL 4033248, at *3 (E.D. Cal. Sept.
 4   3, 2021) (England, J.) (“[R]equiring Defendant to serve his full sentence is necessary to
 5   ‘reflect the seriousness of his offense, promote respect for the law, [and] protect the
 6   public from further crimes of the [D]efendant.’”); United States v. Morrow, No. 8:15-
 7   CR-00099-JLS, 2021 WL 3080625, at *6 (C.D. Cal. July 21, 2021) (Staton, J.)
 8   (“[R]educing Defendant's sentence would not ‘reflect the seriousness of the offense, ...
 9   promote respect for the law, and ... provide just punishment for the offense.’”); United
10   States v. Williams, No. 13-CR-00764-WHO-1, 2021 WL 2936728, at *3 (N.D. Cal.
11   July 13, 2021) (Orrick, J.) (“The seriousness of the offenses militates heavily against
12   compassionate release.”).
13         The advisory guideline range for Count One was 262 to 327 months and the
14   ultimate sentence on Count One was 52 months less than the low-end of the advisory
15   guideline range. Granting early release now would create unwarranted sentencing
16   disparities. See United States v. Shelden, No. 2:18-cr-00237-JAD-PAL, 2021 WL
17   3288597, at *2 (D. Nev. July 30, 2021) (Dorsey, J.) (“[G]ranting early release would
18   amount to a several-level downward variance, creating an unwarranted sentencing
19   disparity.”); See also United States v. Hernandez, No. CR14-5105 BHS, 2021 WL
20   1313173, at *4 (W.D. Wash. Apr. 8, 2021) (Settle, J.) (“[Compassionate] [r]elease now
21   would also result in an unwarranted sentencing disparity.”).
22         While the Court commends the Defendant’s efforts to rehabilitate in a custodial
23   setting, these efforts are expected milestones as one of the purposes of a duly imposed
24   sentence is to “provide the defendant with needed educational or vocational training[.]”
25   18 U.S.C. § 3553(a)(2)(D). See also United States v. Ugbah, 4 F.4th 595, 597 (7th Cir.
26   2021) (“Most nonviolent criminals maintain good disciplinary records; that [a
27   defendant] fits the norm is not extraordinary.”). The Defendant’s rehabilitation efforts,
28   when considered together with the other factors raised by the Defendant as well as the
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 1   rest of the § 3553(a) factors, do not rise to the level of being “extraordinary and
 2   compelling reasons” to grant her motion for compassionate release. See United States
 3   v. Buzio Sanchez, No. CR 13-00513 JMS (02), 2021 WL 3409186, at *6 (D. Haw. Aug.
 4   4, 2021) (Seabright, C.J.) (“Although [defendant’s] educational and rehabilitation
 5   efforts while in prison are certainly commendable, they do not justify compassionate
 6   release when considered along with the other § 3553(a) factors.”); See also United
 7   States v. Menchaca, No. 12-CR-00454-PJH-1, 2021 WL 3271315, at *4 (N.D. Cal. July
 8   30, 2021) (Hamilton, J.) (“While the court finds defendant’s rehabilitative efforts
 9   laudable, they do not constitute extraordinary and compelling circumstances warranting
10   compassionate release, either alone or in combination with the other circumstances
11   identified by defendant.”).
12         Finally, in concluding that compassionate release is not warranted in this case,
13   the Court does not mean to diminish the Defendant’s efforts to rehabilitate and provide
14   community service within a custodial setting. Rather, the Court commends the
15   Defendant for her efforts to better herself while in custody but notes that such progress
16   when weighed with the § 3553(a) factors do not rise to the level of being “extraordinary
17   and compelling reasons” to grant compassionate release. Nevertheless, the Defendant’s
18   efforts are not without benefits as the BOP is authorized to award good time credit under
19   Title 18 U.S.C. § 3624. See Bottinelli v. Salazar, 929 F.3d 1196, 1197 (9th Cir. 2019)
20   (“A federal prisoner who is serving more than a one-year term of imprisonment may
21   earn good time credit toward his or her sentence so long as the prisoner ‘display[s]
22   exemplary compliance with institutional disciplinary regulations.’ 18 U.S.C. §
23   3624(b)”). The Court encourages the Defendant to continue on the path to rehabilitation
24   as it would ultimately benefit her in the long run.5
25                                               Conclusion
26         After taking into consideration the pandemic, the combinations of factors raised
27   by the Defendant, and the underlying criminal conduct, and after consulting the §
28         5
               The Defendant’s projected release date is May 15, 2025. (Doc. No. 1214 at 6.)
                                                     -11-
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 1   3553(a) factors, the Court concludes that there are no “extraordinary and compelling
 2   reasons” to justify compassionate release in this case or a partial reduction of the
 3   sentence imposed. Even if the factors raised by the Defendant constituted
 4   “extraordinary and compelling reasons” to justify compassionate release, the Court
 5   concludes that granting early release would not reflect the seriousness of the offense,
 6   promote respect for the law, provide just punishment for the offense, and afford
 7   adequate deterrence to criminal conduct as set forth under § 3553(a). Accordingly, after
 8   considering the Defendant’s motion and applying the relevant law and legal standards,
 9   and based on the current record, the Court DENIES the Defendant’s motion for
10   compassionate release under Title 18 U.S.C. § 3582(c)(1)(A)(i).
11         IT IS SO ORDERED.
12         DATED: September 24, 2021 ________________________________
                                     HONORABLE MARILYN L. HUFF
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                                     UNITED STATES DISTRICT JUDGE
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